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0 R | G| N A [ Proceeding via: OCourtCall OAT&T In Person

DOCKET No. 24-cr-00082 (RMB) - I DEFENDANT Keonne Rodriguez
AUSA David Felton/Andrew Chan DEF.’S COUNSEL Sean Buckley
Vieetamnep CE) Feperan perenpers Leja LJ preseNTMENT ONLY

Oo INTERPRETER NEEDED

, . [1] DEFENDANT WAIVES PRETRIAL REPORT

Brady Warning Given
OCRuleS MRule9 Rule 5(c)(3) [1 Detention Hrg. = DATE OF ARREST 4/24/24 WDPA [J VOL. SURR.
TIME OF ARREST 6:00 AM [ON WRIT

Ci Other: TIME OF PRESENTMENT 2:04 PM

BAIL DISPOSITION

(SEE SEP. ORDER

(1 DETENTION ON CONSENT W/O PREJUDICE (J DETENTION: RISK OF FLIGHT/DANGER [SEE TRANSCRIPT
(] DETENTION HEARING SCHEDULED FOR:

¥] AGREED CONDITIONS OF RELEASE ee Cee f

C] DEF, RELEASED ON OWN RECOGNIZANCE Cw ee ee

¥1 $1 million PRB W2 FRP 0

¥] SECURED BY $ CASH/PROPERTY: 610 Wood Street, Harmony, PA 16037

i] TRAVEL RESTRICTED TO SDNY/EDNY/##, Pa. + points in between for travel only
1 TEMPORARY ADDITIONAL TRAVEL UPON CONSENT OF AUSA & APPROVAL OF PRETRIAL SERVICES
CJ SURRENDER TRAVEL DOCUMENTS (& NO NEW APPLICATIONS)

VI PRETRIAL SUPERVISION: [J REGULAR USTRICT WAS DIRECTED BY PRETRIAL SERVICES

C] DRUG TESTING/TREATMT AS DIRECTED BY PTS [IMENTAL HEALTH EVAL/TREATMF AS DIRECTED BY PTS
CL] DEF. TO SUBMIT TO URINALYSIS; IF POSITIVE, ADD CONDITION OF DRUG TESTING/TREATMENT

7] HOME INCARCERATION [J HOME DETENTION CICURFEW [2 STAND ALONE MONITORING

V1 LOCATION MONITORING TECHNOLOGY AS DIRECTED BY PTS (GQ GPS

LIDEF. TO PAY ALL OF PART OF COST OF LOCATION MONITORING, AS DETERMINED BY PRETRIAL SERVICES

C1 DEF. TO CONTINUE OR SEEK EMPLOYMENT [OR] J DEF. TO CONTINUE OR START EDUCATION PROGRAM
V] DEF. NOT TO POSSESS FIREARM/DESTRUCTIVE DEVICE/OTHER WEAPON

[] DEF. TO BE DETAINED UNTIL ALL CONDITIONS ARE MET
7] DEF. TO BE RELEASED ON OWN SIGNATURE, PLUS THE FOLLOWING CONDITIONS:
; REMAINING CONDITIONS TO BE MET BY: See below*

ADDITIONAL CONDITIONS/ADDITIONAL PROCEEDINGS/COMMENTS:;

Additional conditions of release: (i) Defendant is not to operate, work for, or perform services for Samourai Wallet. (ii)
Defendant is not to engage in any cryptocurrency transactions, directly or indirectly, w/o prior approval of PTS and the
Government. (iii) Defendant is to have no contact with his co-defendant, directly or indirectly, except in the presence of
counsel. (iv) Defendant is not to open any bank accounts or lines of credit w/o prior approval of PTS; (v) Defendant is to
reside at 610 Wood Street, Harmony, PA.

* All remaining conditions to be met w/in 72 hours, except that Defendant may have until May 14 to secure the bond with
the home at 610 Wood Street.

IZ DEF. ARRAIGNED; PLEADS NOT GUILTY Zi CONFERENCE BEFORE D.J. ON 5/14/24
CO DEF. WAIVES INDICTMENT
SPEEDY TRIAL TIME EXCLUDED UNDER 18 U.S.C. § 3161(h)(7) UNTIL 5/14/24

For Rule 5(c}(3) Cases:
C] IDENTITY HEARING WAIVED CJ] DEFENDANT TO BE REMOVED

Ci PRELIMINARY HEARING IN SDNY WAIVED CJ) CONTROL DATE FOR REMOVAL:

PRELIMINARY HEARING DATE: (1 ON DEFENDANT’S CONSENT

r

DATE: 4/29/24 Ye \ Sap ERY

UNITEB-S2A TES TAAGISTRATE JUDGE, S.D.N.Y.

WIHTE (original}- COURT FILE PINK - U.S, ATTORNEY'S OFFICE YELLOW - U.S. MARSHAL GREEN — PRETRIAL SERVICES AGENCY
Rev'd 2016

